Case 2:07-md-01873-KDE-MBN Document 14523-1 Filed 06/23/10 Page 1 of 9

EXHIBIT A
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United States Bankruptcy Court
District of Delaware

Notice of Bankruptcy Case Filing

A bankruptcy case concerning the debtor(s) listed
below was filed under Chapter 11 of the United
States Bankruptcy Code, entered on 11/15/2009 at
8:16 PM and filed on 11/15/2009.

Redman Homes, Inc.
755 W. Big Beaver

Suite 1000

Troy, MI 48084

Tax ID / EIN: XX-XXXXXXX

The case was filed by the debtor's attorney:

Laura Davis Jones

Pachulski Stang Ziehl & Jones LLP
919 N. Market Street

17th Floor

Wilmington, DE 19899-8705

usa

302 652-4100

The case was assigned case number 09-14018-KG to Judge Kevin Gross.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other
actions against the debtor and the debtor's property. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay.
If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are
available at our Internet home page www.deb.uscourts.gov or at the Clerk's Office, 824 Market Street,
3rd Floor, Wilmington, DE 19801.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
forth important deadlines.

David D. Bird
Clerk, U.S. Bankruptcy

https://ecf.deb.uscourts.gov/cgi-bin/NoticeO fF iling.p!?121946 6/22/2010
Internd’ @N4/EOF Die DetdbaseD E-MBN Document 14523-1 Filed 06/23/10 Page 3Pdge 2 of 2

Court
PACER Service Center
| Transaction Receipt
| 06/22/2010 11:34:34
[PACER Login: ||ps0038 [Client Code: _|
(Description: \|Notice of Filing ‘|Search Criteria: ‘|[o9-14018-KG |
|Billable Pages: 1 ||Cost: ||0.08 |

https://ecf.deb.uscourts.gov/cgi-bin/NoticeOfFiling.pl?121946 6/22/2010
Case 2:07-md-01873-KDE-MBN. Document 14523-1 Filed 06/23/10 Page 4 of 9

OF- (412.

“BI (Official Form 1) (108)
United States Bankruptcy Court Boe -
District of Delaware . 21 Polattary Petition:
Name of Debtor (if individual. enter Last, First, Middle: Name of Joint Debtor (Spouse) (Last, First, Middle):
Homes of Merit, Inc.
Alt Other Names used by the Debtor in the last 8 years - All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names): {include married, maiden, and trade names}:
Redman Homes
Last four digits of Soc. Sec. or Individuel-Taxpayer LD. (TTIN) NoJG ‘omplete EIN ’ Last four digits of Soc. See. or Individual-Taxpayer LD, (ITIN) No/Complete EIN
(if more than one, slate all): 59- 1438488 (if more then one, state all):
Street Address of Debtor (No. and Street, City, and State): Street Address of Joint Debtor (No. and Strest, City, and State):
755 W. Big Beaver, Ste. 1000, Troy, MI
[ZIP CODE 48084 | |ztp CODE |
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Oakland County, MI
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from strcet address}:
same as street address :
[ZIP CODE | [ZIP CODE L
Location of Principal Assets of Business Debtor (if different from street address above):
[zip CODE 1
Type of Debtor Nature of Business Chapter of Bankraptcy Code Under Which
(Form of Organization) (Check one box.) the Petition Is Filed (Check one box.)
(Check one box.) H Health Care Business Cl Chapter 7 QO ‘Chapter 15 Petition for
[71 individual (includes Joint Debtors) Single Assot Real Estate as defined in | [] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form tb ULS.C. § 101151) 54 Chapter 11 Main Proceeding
5] Comporstion tincludes LLC and LLP) Railroad Chapter 12 ©). Chapher 13 Petition for
Partnership Stockbroker yy Chapter 13 Reronition of af joneioe
. Other (If debtor is not one of the above entities. Conimodity Broker
, check this box and state type of entity below.) } Clearing Bank Nature of Debts
Other factory built housing (Check one box.)
[7] debts are primarily consumer, Debis are primarily
Tax-Exempt Entity debis defined in 14 U.S.C. business debts
O "(Check box, if spplicable.) fl 0] (a) oe Hncured by an
Debtor is a fax-cxrmpt organization nvedual y fore
under Title 26 of the United States personel, family, ar house-hold
. Code {the Intenial Revenue Code), _burpose.
Filing Fee (Check one box.) Chapter 01 Debtors
ae Check one box:
EX} Full Filing Fee artached. [7] Debtor is n small business debtor as defined in 1h U.S.C. § 101(51D).
[1 iting Fee to be paid in installments (applicable to individuals only). Must aurch | BS) Debior is not a smalt business debtor es defined in 1} U.S.C. § 101(S1D).
signed application for the court's consideration certifying that the debtor is Cheek tf
unable to pay fee except in insiallmenis, Rule 1006(b). See Officint Form 3A, 0 Debtor's aggregate noncontingent liquidated debts (excluding debts awed 10
. : insiders of affilintes) are less than $ 2,190,000.
oO Filing Fee waiver requested (applicable to chapter 7 individuals onty). Must .
attach signed application for the court's consideration. See Official Farm 33. ey ll applicable boxes:
A plan is being filed with this petition.
Q) Acceptances of the plan were solicited propetition from one or more classes
of ereiors, in necordance with II U.S.C. § 1126(0).
StatisticaVAdministrative Information THIS SPACE 1S FOR
D Debtor estimates that funds will be available for distribution to unsecured creditors, COURT USE OXLY
_] Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no finds available for
distribution to unsecured creditors,
Estimated Number of Creditors .
O C) 0
1-49 50.99 100-199 200-999 1,000- 3.001- 10,001- 25.001- 50,001- Over
$,000 10,000 25,000 30.000 100.000 100,000
Estimated Assets
OQ CT C] 0 4
50 to $10,001 tm = $100,001 to $500,001 $7.000.001 $10,000,001 + $50,000,001 $700,000.01 §300.000.001 More than
$50.000 += $100,000 $500,000 10 $1 to$to to $50 ta Sino fo $500 to$t hilllan == $1 billion
million trillion million million million
Estimated Liabilities =
CJ C t CY i O
“7 jlo $10,001 to $100,003 0 «$500,001 = $1,000,001 $10,000,001 $50,000,001 $100.000,001 + $500,000,001 Mors than
‘50,000 $100,000 $500,000 w$i to $10 to $50 to $100 to $500 to$l billion $1 billion
million million million million million
: American LegaiNet, inc.
wer. FormeWorktow.com

Case 2:07-md-01873-KDE-MBN Document 14523-1 Filed 06/23/10 Page 5 of 9

B 1 (Official Form 1) (1/08) . Page 2
Voluntary Petition Name of Deblor(s):
(This page must be completed and filed in every case.) Homes of Merit, Inc.

All Prior Bankruptcy Cases Filed Within Last 8 Years (tf'more than two, attach i additional sheet.)

Location Case Number: Date Filed:
Where Filed: none
Location Case Number: Date Filed:
Where Filed:

Peading Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (if more than one. attach additional sheet.
Name of Debtor: Case Number: Date Filed:
see attached Schedule | pending _ 2009
Distrlet: Relationship: Judge:
District of Delaware affiliate pending

Exhibit A Exhibit B
. . : . (Ta be completed if debtor is an individual

(To be completed if debtor is required to file periodic reports (c.g. forms 10K and whose debts are primarily consumer debts.)

10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 1.) 1, the attorney for the petitioner named in the foregoing petition, declare that |

have infonned the petitioner that [he or she] may proceed under chapicr 7, 14,
42, of 13 of title 1. United States Code. and have explained the relief
available under each such chapter, | further certify that f have delivered to the
debtor the notice required by 11 U.S.C. § 342¢b).

x
O Exhibit A is attached and made a part of this petition. Signature of Attamey for Debtor(s) (Date)

Exhibit C
Does the debtor own vr have possession of any property that poses or is alleged fo pose a threat of imminent and identifiable harm to public health or safety?

OO Yes, and Exhibit C is attached and made @ part of this petition.

CJ No.

Exhibit D
(To be completed by every individual debtor, Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
(1 Exhibit D completed and signed by the debtor Is attached and made a part of this petition,
If this is a joint petition:
[J] Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition,

information Regarding the Debtor - Venuc
(Check any applicable box.) .
[J __ Debtor has been domicifed or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

‘There is a bankmupicy case conceniing debtor's affiliate, general partner, or pasinership pending in this District.

x

[] Debtor is.a debtor in a foreign proceeding, and hes its principal place of business or principal asstts in the United States in this Disirict, or
has no principal place of business or assets in the United Stotes but is a defendant in an action or proceeding [in a federal or state court) in
this District. or the Intcresis of the partics will be served in regard to the relicf songht in this District.

Certification by a Nebtor Who Resitles as a Tenant of Residential Property
(Check all applicable boxes.)

oO Landlord has a judgment ogainst the debtor for possession of debtor's residence. (if bax checked, complete tie following.)

{Name of landlord that obtained judgment)

(Address of landlord)
0 Debtor claims that under applicable nonhankruptey law, there are circumstances under which the debtor would be pennitted fo cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

oO Debtor has included with thls petition the deposit. with the court of any rent that would become due during the 30-day period after the
filing of the petition,

DC. Debtor certifies that he/she has served the Landlord with this certification, (11 U.S.C. § 362(1)).

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ween. Forme Workfiow. com

Case 2:07-md-01873-KDE-MBN Document 14523-1 Filed 06/23/10 Page 6 of 9

B 1 (Official Form) £ (1708)

Page3

Voluntary Petition
(This page must be completed aud filed in every case}:

Name of Debtor(s):
Homes of Merit, Inc.

Signa

tures

Signature(s) of Debtor(s) (Individual/Joint)

1 declare under penalty of perjury that the information provided in this petition is true
and correct, :
{if petitioner is an individual whose debis are primarily consumer debts and has
chosen to file under chapter 7} | am aware that | may proceed under chapter 7. 11. 12
or $3 of tite 31, United States Code, understand the relief available under cach such
chapter, and choose to proceed under chapter 7.

{IT no attorney represents me and no bankiuptcy pelilion preparer sims the petition} |
have obtained and read the notice required by 11 U.S.C. § 342(b).

} request relief in accordance with the chapter of title TI. United. States Code,
specified in this petition.

x

Signature of Debior

x

Signature of Joint Debtor

Telephone Number (if not represenied by atomey)

Date >

Slgnature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true
and correct, that Lam the foreign representative of a debtor in a foreign proceeding,
and that } am authorized to file this petition.

(Check only ane box.)

O J request relief in aveordanve with chapter 15 of uitle $1, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

0 Pursuant to 11 U.S.C. § 1531. [request relief in accordance with the
chapier of litle H1 specified in this petition, A certified copy of the
order granting recognition of the forcign main proceeding is attached.

(Signature of Foreign Representaiive)

(Printed Name of Forcign Representative)

Date

Signature of Non-Attorney Bankruptey Petition Preparer

(j LYLE AAS 1 declare under penalty of perjury that; (1) | am a bankruptcy petition preparer as
Snanife af Mitomey for . defined ha }1 U.S.C. $ 110; (2) I prepared this document for compensation and have
Laura Davis Jones 3b ) provided the debior with a copy of this document and the notices and information:
Printed Name of Att Tor Debicr(s) 7 required under 11 U.S.C. §§ 11Xb), 110{h), and 342ib); and. (3) if rules or
P Iski S ome y & , LP guidelines have been promulgated pursuant lo 11 U.S.C, § 110(h) setting a maxhnum
achulski Stang Ziehl & Jones L. fce for services chargeable by bankruptey petition preparers, | have given the debtor
Firm Name notice of the maximum amount before preparing any document for filing for a debtor
919 North Market Street, 17" Floor or necepting any fee from the debtor, ax required in that section, Official Form 19 ts
Address aniached.
P.O, Box 8705
Wilmington, Delaware 19899-8705 Printed Name and title, if any, of Bankruptcy Petition Preparer
302-652-4100
Telephone Num Social-Security number ¢{f the bankruptcy petition preparer is not an individual,
November } c 2009 state the Social-Security number of the officer, principal, responsible person or
Date partner of the bankruptcy petition preparer.) (Required by 1¢ U.S.C. § 110)
In a case in which $ 707(bX4KD) applies, this signature also constitutes n
certification that the attomey has no knowledge after an inquiry that the information Address
in the schedules is incarrect,
Signature of Debtor (Corporation/Partucrship)
I declare under penalty of perjury that the information provided in this petition is ine x
und correcl, and that | have been authorized to file this petition on behalfof the
debtor.
Date

of tite L1, United States

The debtor req the relief in pocoy
Code. specifi this petition.

x
Signature of Afi tdi )
Phyllis A. Knight
Printed Name 2A uthorized Individult"~

President
Title of Authorized. Individual
November |§2009
Date

Signature of bankruptcy petition preparer or officer. principal. responsible person. or
partner whuse Sovial-Sevurity number is provided above,

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is nol an
individual.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate oficial form for cach person.

A bonkrupicy petition preparer's failure to comply with the provisions of tithe U8 cand
the Federal Rules of Bankruptcy Procedure may result in fines or imprisanment or

both. 11 U.S.C. § HO IB USC. § 156.

Asnerican LegaiNel, inc.
wreve. Forms Workfow.com

Case 2:07-md-01873-KDE-MBN Document 14523-1 Filed 06/23/10 Page 7 of 9

Schedule 1

Pending Bankruptcy Cases Filed by the Debtor and Affiliates Thereof

The following affiliated debtors will file chapter 11 petitions in the United States

Bankruptcy Court for the District of Delaware:

Redman Homes, Inc.

Champion Enterprises, Inc.

Champion Home Builders Co.

New Era Building Systems, Inc.

North American Housing Corp.

Homes of Merit, Inc.

Western Homes Corporation

Star Fleet, Inc.

Champion Enterprises Management Corp.
Champion Retail, Inc. :
San Jose Advantage Homes, Inc.
Highland Acquisition Corp.

Highland Manufacturing Company LLC
SSH Liquidating Corp.

Champion Homes of Boaz, Inc.

Iseman Corp.

HomePride Finance Corp.

MHCDC, LLC

Champion Development Corp.

13814-001\DOCS_DE:153189.1
Case 2:07-md-01873-KDE-MBN Document 14523-1 Filed 06/23/10 Page 8 of 9

U.S. DISTRICT COURT
FOR THE

USDC EASTERN DISTRICT OF LOUISIANA

TORIA KING, ET AL. ) Case No. 10-1303
)
Plaintiff(s) )
)
VS. )
)
HOMES OF MERIT, INC., ET AL )
: )
)
Defendant(s). )
CERTIFICATE OF SERVICE

pe
I, Timothy P. Cairns , hereby certify that on the VW_ day of June, 2010, I caused a

copy of the following document to be served on the individuals on the attached service list in the

manner indicated:

SUGGESTION OF BANKRUPTCY REGARDING CHAMPION

ENTERPRISES, INC. o
(¢ _

Timothy P. Cairns (DE Bar No. 4228)

13814-001\DOCS_DE:154841.73

Case 2:07-md-01873-KDE-MBN Document 14523-1

Toria King, et al. v. Homes of Merit
02 — First Class Mail

First Class Mail

(Counsel for Plaintiff)
Robert C. Hilliard, Esquire
Watts Hilliard, LLC

2506 N. Port Avenue
Corpus Christi, TX 78401

First Class Mail

(Counsel for Defense)
Lamont Domingue, Esquire
Voorhies & Labbe

700 St. John Street
Lafayette, LA 70502-3527 ©

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Filed 06/23/10 Page 9 of 9
